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                                  ACTION BY WRITTEN CONSENT
                                                   OF
                     TIIE BOARD OF AMERICAN ETHANE COMPANY,LLC
                                                  AND
                                  THE REQUISITE MEMBERS OF
                               AMERICAN ETHANE COMPANY,LLC

                                          DECEMBER 1,2015

         This Written Consent ("Written Consent") of the Board of American Ethane Company, LLC,
and the requisite Members of American Ethane Company, LLC, a Texas limited liability company (the
"Company"), is executed as of December I, 2015, pursuant to Section 6.7 (Action by Written Consent)
and Section 15.10 (Amendment) of that certain Amended and Restated Limited Liability Company
Operating Agreement, dated as of' April 30, 2014 (as may be amended from time to time, the "LLC
Agreement"), by the undersigned, being (i) the Directors sufficient to meet the quorum requirements set
forth in Section 6.6 of the LLC Agreement to take action by written consent (the "Board"); and (ii) the
Members holding at least 90% of the Units (the "Requisite Members"), as required to amend the LLC
Agreement pursuant to Section 15.10 thereof, all of whom hereby take the following actions, by written
consent, and hereby approve and adopt the below resolutions. Capitalized terms used herein and not
otherwise defined shall have the meaning set forth in the LLC Agreement.

 Unit Purchase Ageemcnt

        WHEREAS, pursuant to Section 2.03(b)(iv) of that certain Unit Purchase Agreement, dated as of
                        ,2015 (as may be amended from time to time, the "Unit Purchase Agreement"),
by and among LLC "Alternative", a limited liability company organized under the laws of the Russian
Federation (the "Seller"), YK Holdings, LLC, a limited liability company organized under the laws of the
Slate of Texas (the "Buyer"), and certain individual guarantors party thereto, the Buyer desires to
purchase from Seller and the Seller desires to sell to Buyer 24,999,999 Units of the Company (the
"Company Units") for an aggregate purchase price of $18,750,000(the "Purchase Price"), pursuant to
the terms and subject to the conditions set forth in the Unit Purchase Agreement, a copy of which has
been presented to and reviewed by the undersigned Directors and Members; and

       WHEREAS,the Board and the Requisite Members deem it advisable and in the best interests of
the Company to ratify, authorize, adopt and approve the Unit Purchase Agreement and the transactions
contemplated thereby;

       NOV, THEREFORE, BE l'1' RESOLVED, that the Board and the Requisite Members of the
Company hereby consent to the transfer and sale of the Company Units from Seller to Buyer for the
Purchase Price; and

       RESOLVED, that the form, terms and provisions of the Unit Purchase Agreement,
together with the exhibits and schedules thereto, a copy of which has been submitted to each
undersigned Director and Member, be and they hereby are, in all respects, authorized, adopted
and approved; and

      RESOLVED FURTHER, that the Company, through the undersigned Directors and
Members, be, and hereby is, authorized to execute and deliver any reasonably required document




                                                                                               Exhibit "C"
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   for the consummation and one or more closing(s) of the Unit
                                                                          Purchase Agreement (the
   "Closings"), with such changes therein as the Company shall, by executio
                                                                             n thereof, approve, and
   to take all other actions which shall be necessary, advisable or
                                                                    appropriate in order to carry out
   the purposes of any and all of the foregoing resolutions.

   Waiver of Certain Provisions in LLC Agreement

            WHEREAS, the LLC Agreement provides for a Lock-Up Period and certain
                                                                                                  restrictions on
   transfers of Units, including, without limitation, those restrictions on transfer
                                                                                     more specifically outlined in
   Article IX (Transfer)ofthe LLC Agreement; and

           WHEREAS, the Board and the Requisite Members deem it advisabl
                                                                                 e and in the best interest of
  the Company to waive all applicable provisions of the LLC Agreeme
                                                                          nt (including, without limitation,
  those restrictive provisions contained in Article IX) that could, without such
                                                                                  waiver, prevent, condition,
  delay, nullify or void, in part or in whole, the sale of the Company
                                                                             Units to Buyer, or any other
  transaction or action contemplated by the Unit Purchase Agreement, the Closings
                                                                                     , and the consummation
  thereof.

          NOW, THEREFORE, BE IT RESOLVED, that the Board and the Requisit
                                                                                            e Members of the
  Company hereby, waive all applicable provisions of the LLC Agreeme
                                                                             nt (including, without limitation,
  those restrictive provisions contained in Article IX)(the "Waiver"
                                                                           ), such that the Company hereby
  expressly acknowledges and agrees that the consummation of the Unit
                                                                            Purchase Agreement, the Closings
  and the transactions contemplated thereby shall not be prevented,
                                                                            conditioned, delayed, nullified or
  voided, in part or in whole by virtue of any restriction on transfer or lock-up
                                                                                  period contained in the LLC
  Agreement.

          RESOLVED FURTHER, that the Waiver shall additionally apply and
                                                                                extend to any subsequent
 transfer(s), assignment(s), encumbrance(s), or other disposition(s) of the
                                                                            Company Units, in whole or in
 part, by YK Holdings, LLC during the Lock-Up Period.

         RESOLVED FURTHER,that any of the officers of the Company be and
                                                                                   each such officer hereby
is, authorized to execute and deliver any and all documents or instrume
                                                                            nts relating thereto, with such
changes therein as the officer executing the same shall, by execution thereof,
                                                                                   approve, and to take all
other actions which in such officer's opinion shall be necessary, advisable
                                                                            or appropriate in order to carry
out the purposes of any and all of the foregoing resolutions, including,
                                                                           but not limited to any required
amendments to the Percentage Interest and Units of any Member, which shall
                                                                                be set forth on the Member
Schedule of the LLC Agreement in connection with the Closings.

General

         NOV THEREFORE,BE IT RESOLVED, that the officers of the Company be
                                                                                            and each of them
 hereby is, authorized and directed, on behalf of the Company, to take or
                                                                              cause to be taken any and all
actions and to execute, deliver and/or file, or cause to be executed, delivered
                                                                                and/or filed, any agreements,
notifications, certifications, and other documents, and to incur all such fees
                                                                                and expenses, as such officer
may approve as necessary or desirable to carry out the actions and transacti
                                                                                 ons contemplated by, arising
out of our relating to any of the foregoing resolutions, such action, execution,
                                                                                  delivery and/or filing to be
conclusive evidence of such approval;
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          RESOLVED FURTHER, that all actions heretofore take by any officer of the
                                                                                           Company that are
  consistent with the purposes and intent of the foregoing resolutions and
                                                                             thc transactions contemplated
  thereby and hereby be,and hereby are, approved, ratified and confirmed in all respects
                                                                                         ; and
         RESOLVED FURTHER, that this Written Consent may be executed
                                                                                     in counterparts, each of
 which shall be deemed an original and all of which, taken together, shall constitu
                                                                                    te one instrument.

                                         [Signature pagesfollow]
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       IN WITNESS WHEREOF.the undersigned, being
                                                          the DirecroiS and Members of Ainencan Ethane
       Company. 1.1.C. as outlined liereinabove, hare executed
                                                                ibis Written Consent of the date Ihst
       abuse                                                                                          Written



                                                                        INVESTOR DIRECTOR:

                                                                        1.1.( "Al JERNATIV1i-,
                                                                        As the investor Director


                                                                        By:

                                                                      Name:             40:k:f54.i)
                                                                      1itle: 6e(i_gLA                 e   /or

                                                                      MANAGEMENT MEC OBS:


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                                                                     Nam:: Miehac1 Vuriev
                                                                     Tide: Management Direeto


                                                                     fly:
                                                                    •         Antirey Kum nrev
                                                                     Title: !Management Director


                                                                    By:


                                                                   .1111e: Managemzni f ifectur


                                                                    MEMBERS:

                                                                    1.1.("*Al.TERNATIVI,".
                                                                    As a Nlember


                                                                   Hy

                                                                   Name:
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